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ABRAMSON & DENENBERG, P.C.
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(215) 546-1345

                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJORIE SWEET                             :   CIVIL ACTION
1929 EAST TIOGA STREET                    :
PHILADELPHIA, PA 19134            :
      AND                                 :
CHRISTOPHER SWEET                         :
P.O. BOX 1000                             :
HOUTZDALE, PA 16698-1000                  :
      AND                                 :
RENEE BLAIR                               :
3453 HELEN STREET                         :
PHILADELPHIA, PA 19134            :
      AND                                 :
ROBERT KOHLER                             :
                                          :
                                          :
    AND                                   :
DAWN BRUMMET                              :
                                          :
                                          :
                                          :
     VS.                                  :
                                          :   JURY TRIAL DEMANDED
CITY OF PHILADELPHIA                      :
1515 ARCH STREET, 15TH FLOOR              :
PHILADELPHIA, PA. 19102                   :
      AND                                 :
DETECTIVE RIELLY                          :
BADGE #9126                               :
1515 ARCH STREET, 15TH FLOOR              :
PHILADELPHIA, PA. 19102                   :
      AND                                 :




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DETECTIVE GREEN                                      :
BADGE #8032                                          :
1515 ARCH STREET, 15TH FLOOR                         :       NO. 03-0111
PHILADELPHIA, PA. 19102                              :
      AND                                            :
POLICE OFFICER MERTZ                                 :
BADGE #8303                                          :
1515 ARCH STREET, 15TH FLOOR                         :
PHILADELPHIA, PA 19102         :
      AND                                            :
POLICE OFFICERGURSK                                  :
BADGE #9596                                          :
1515 ARCH STREET, 15TH FLOOR                         :
PHILADELPHIA, PA. 19102                              :
      AND                                            :
POLICE OFFICER RYCEK                                 :
BADGE #790                                           :
STREET, 15TH FLOOR                                   :
PHILADELPHIA, PA. 19102                              :
      AND                                            :
POLICE OFFICERS JOHN DOE #1-10                       :
1515 ARCH STREET, 15TH FLOOR                         :
PHILADELPHIA, PA. 19102                              :
      AND                                            :
SWAT TEAM OFFICERS JOHN DOE #1-10                    :
1515 ARCH STREET, 15TH FLOOR                         :
PHILADELPHIA, PA. 19102                              :

                                 COMPLAINT - CIVIL ACTION


               1. Plaintiff, Marjorie Sweet, is an adult citizen and resident of the Commonwealth of

Pennsylvania residing as captioned.

               2. Plaintiff, Christopher Sweet, is an adult citizen and resident of the Commonwealth

of Pennsylvania residing as captioned.

               3. Plaintiff, Renee Blair, is an adult citizen and resident of the Commonwealth of

Pennsylvania residing as captioned.

               4. Plaintiff, Robert Kohler, is an adult citizen and resident of the Commonwealth of

Pennsylvania residing as captioned.


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                5. Plaintiff, Dawn Brummet, is an adult citizen and resident of the Commonwealth of

Pennsylvania residing as captioned.

                6. Defendant, City of Philadelphia, is a municipal corporation organized and

existing under the laws of the Commonwealth of Pennsylvania, which maintains its principal offices

as captioned.

                7. Defendant, Detective Reilly, was at all material times an officer with the City of

Philadelphia Police Department. Detective Reilly is being sued both individually and in his official

capacity as officer, agent and/or employee of the defendant, City of Philadelphia.

                8. Defendant, Detective Green, was at all material times an officer with the City of

Philadelphia Police Department. Detective Green is being sued both individually and in his official

capacity as officer, agent and/or employee of the defendant, City of Philadelphia.

                9. Defendant, Police Officer Mertz, was at all material times an officer with the

City of Philadelphia Police Department. Police Officer Mertz is being sued both individually and in

his official capacity as officer, agent and/or employee of the defendant, City of Philadelphia.

                10. Defendant, Police Officer Gursk, was at all material times an officer with the

City of Philadelphia Police Department. Police Officer Gursk is being sued both individually and

in his official capacity as officer, agent and/or employee of the defendant, City of Philadelphia.

                11. Defendant, Police Officer Rycek, was at all material times an officer with the
City of Philadelphia Police Department. Police Officer Rycek is being sued both individually and

in his official capacity as officer, agent and/or employee of the defendant, City of Philadelphia.

                12. Defendants, Police Officers John Doe #1-10, were at all material times officers

with the City of Philadelphia Police Department. Police Officers John Doe #1-10 are being sued

both individually and in their official capacity as officers, agents and/or employees of the

defendant, City of Philadelphia.

                13. Defendants, SWAT Team Officers John Doe #1-10, were at all material times



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officers with the City of Philadelphia Police Department. SWAT Team Officers John Doe #1-10

are being sued both individually and in their official capacity as officers, agents and/or employees

of the defendant, City of Philadelphia.

               14. At all material times, defendant, Detective Reilly, acted within the course and scope

of his employment, under the color of state law and pursuant to the customs, policies and practices of

the City of Philadelphia Police Department, and the defendant, City of Philadelphia.

               15. At all material times, defendant, Detective Green, acted within the course and scope

of his employment, under the color of state law and pursuant to the customs, policies and practices of

the City of Philadelphia Police Department, and the defendant, City of Philadelphia.

               16. At all material times, defendant, Police Officer Mertz, acted within the course and

scope of his employment, under the color of state law and pursuant to the customs, policies and

practices of the City of Philadelphia Police Department, and the defendant, City of Philadelphia.

               17. At all material times, defendant, Police Officer Gursk, acted within the course and

scope of his employment, under the color of state law and pursuant to the customs, policies and

practices of the City of Philadelphia Police Department, and the defendant, City of Philadelphia.

               18. At all material times, defendants, Police Officer Rycek, acted within the course and

scope of his employment, under the color of state law and pursuant to the customs, policies and

practices of the City of Philadelphia Police Department, and the defendant, City of Philadelphia.
               19. At all material times, defendant, Police Officers John Doe #1-10, acted within the

course and scope of their employment, under the color of state law and pursuant to the customs, policies

and practices of the City of Philadelphia Police Department, and the defendant, City of Philadelphia.

               20. At all material times, defendants, SWAT Team Officers John Doe #1-10, acted

within the course and scope of their employment, under the color of state law and pursuant to the

customs, policies and practices of the City of Philadelphia Police Department, and the defendant, City

of Philadelphia.



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                21. At all material times, defendant, City of Philadelphia, was charged with the

responsibility of testing, hiring, training and supervising members of the City of Philadelphia Police

Department including in particular, the individual defendants.

                22. The court has jurisdiction over the Federal Law Claims pursuant to 28 U.S.C. §§

1331 and  1343 and jurisdiction over the State Law Claims, pursuant to the principals of pendant and

ancillary jurisdiction.

                23. Venue is proper under 28 U.S.C. § 1391(b) because the cause of action upon which

the complaint is based arose in the County of Philadelphia, Pennsylvania, which is in the Eastern

District of Pennsylvania.

                24. On or about January 8, 2001, three individuals were robbed by two perpetrators, one

with a teardrop tattoo, while walking on Tioga Street in Philadelphia, Pennsylvania.

                25. On or about January 9, 2001, without knocking or announcing themselves, while

plaintiff, Marjorie Sweet, was in the upstairs bedroom of her residence, she heard two loud bangs, at

which time plaintiff, Marjorie Sweet, immediately noticed masked men, whom she later learned were

SWAT unit officers, in her bathroom doorway with guns pointed directly at her.

                26. At that time, defendants, Detective Rielly, Detective Green, Police Officer Mertz,

Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team

Officers John Doe #1-10, pulled plaintiff, Marjorie Sweet, out of her bathroom and placed her against
the hallway wall, ordering her not to move.

                27. While plaintiff, Marjorie Sweet, was standing against the wall, she observed one of

the masked defendants stamping down hard on her upstairs carpet because a fire had erupted on the

carpet as a result of the concussion devices (flash bang) during the defendant officers entry into

plaintiff, Marjorie Sweet’s, home.

                28. After approximately 10 minutes of standing in the hallway, plaintiff, Marjorie

Sweet, was taken downstairs and detained in the living room.



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                29. At that time, plaintiff, Marjorie Sweet, observed her friend, plaintiffs, Renee Blair

and her son Christopher Sweet, lying on the floor handcuffed. Marjorie Sweet, also observed

numerous police officers inside her home.

                30. Defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer

Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe

#1-10, questioned plaintiff, Marjorie Sweet, about the robbery that occurred the previous day and

whether she knew the identity of the man with the tear drop tattoo. Plaintiff, Marjorie Sweet, indicated

that she did not.

                31. Defendants Detective Reilly, Detective Green, Police Officer Mertz, Police Officer

Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe

#1-10, searched the plaintiff, Marjorie Sweet’s, entire home for approximately two hours.

                32. During the course of the search Plaintiff’s property, including but not limited to, her

ceiling, carpet, smoke detectors, shutters and cabinets were damaged.

                33. Plaintiffs, Renee Blair and Christopher Sweet, remained handcuffed during the

entire search by the defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer

Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe

#1-10.

                34. No incriminating evidence was found during the search.
                35. On or about, January 15, 2001, the defendants, Detective Reilly, Detective Green,

Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10

and/or SWAT Team Officers John Doe #1-10, returned to plaintiff, Marjorie Sweet’s, home and gained

entry by using force and broke the doorframe to the plaintiff’s home.

                36. Plaintiff, Marjorie Sweet, was not home when defendants, Detective Reilly,

Detective Green, Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers

John Doe #1-10 and/or SWAT Team Officers John Doe #1-10, forcefully entered her residence.



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               37. When plaintiff, Marjorie Sweet, returned home she contacted defendant, Detective

Reilly, who confirmed that the police had entered her home earlier that day allegedly with a search

warrant.

               38. Plaintiff, Marjorie Sweet, requested a copy of the search warrant, however she has

never received a copy of the search warrant for the January 15, 2001 police entry into her home.

               39. Subsequently, the defendants, Detective Reilly, Detective Green, Police Officer

Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT

Team Officers John Doe #1-10, have arrested an individual, with a teardrop tattoo, identified as Juan

Gonzalez for the January 8, 2001 robbery.

               40. On or about September 21, 2001, without knocking or announcing themselves,

defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer Gursk, Police

Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe #1-10, returned

to the plaintiff, Marjorie Sweet’s, home without a warrant, and gained entry by using force and again

caused property damage to the entranceway.

               41. Defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer

Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe

#1-10, held plaintiffs, Robert Kohler, Christopher Sweet and Dawn Brummet, along with their infant

child, Shannon, at gunpoint.
               42. Defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer

Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe

#1-10, claimed that they were looking for Jeffery Sweet, who was not present at the residence.

Defendants thereupon searched the entire home for approximately 20 minutes.

               43. Defendants, did not produce a warrant and again recovered no evidence.

               44. As a direct and proximate result of the aforementioned acts and conduct of the

defendants, all plaintiffs, have sustained severe emotional distress, which the plaintiffs are advised may



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be permanent in nature.

                45. As a direct and proximate result of the aforementioned actions of the defendants, all

plaintiffs have suffered disability, mental anguish and emotional distress and will continue to suffer

same for an indefinite time in the future to their great detriment and loss.

                46. As a direct and proximate result of the aforementioned actions of the defendants, all

plaintiffs have been obliged to and may continue to expend various sums of money and to incur various

expenditures for medical treatment for an indefinite period of time in the future, to their great detriment

and loss.

                47. As a direct and proximate result of the aforementioned actions of the defendants, all

plaintiffs have and will hereinafter incur other financial expenses and losses.



                        COUNT I - 42 U.S.C. §1983
                          EXCESSIVE FORCE
  MAJORIE SWEET, CHRISTOPHER SWEET AND RENEE BLAIR V. DETECTIVE
REILLY, DETECTIVE GREEN, POLICE OFFICER MERTZ, POLICE OFFICER GURSK,
 POLICE OFFICER RYCEK, POLICE OFFICERS JOHN DOE #1-10 AND SWAT TEAM
                       OFFICERS JOHN DOE #1-10
                48. Paragraphs 1 through 47 are incorporated herein by reference, as though each were

fully set forth herein at length.

                49. As aforesaid, defendants, Detective Reilly, Detective Green, Police Officer Mertz,

Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team

Officers John Doe #1-10, acting within the course and scope of their employment, under the color of

state law, and pursuant to the customs, policies, and practices of the City of Philadelphia; deprived the

plaintiffs of their rights, privileges and immunities under the Laws and Constitutions of the

Commonwealth of Pennsylvania and the United States; in particular, the right to be free from excessive

force on 1/9/01 and 9/21/01; all of which actions violated the plaintiff's rights under the Fourth and

Fourteenth Amendments to the Constitution of the United States, the Constitution of the



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Commonwealth of Pennsylvania, the Laws of the United States and of the Commonwealth of

Pennsylvania, and were in violation of 42 U.S.C.  §1983.

               50. As aforesaid, defendants, Detective Reilly, Detective Green, Police Officer Mertz,

Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team

Officers John Doe #1-10, acting within the scope of their employment, under the color of state law, and

pursuant to the customs, policies and practices of the defendant, the City of Philadelphia, intentionally

and illegally entered the home of plaintiff, Marjorie Sweet, and intentionally and maliciously threatened

and humiliated, plaintiffs, Marjorie Sweet and Renee Blair, and used their position of authority,

illegally and improperly to punish and use excessive force on the plaintiff, by the above described

actions, all of which violated the plaintiffs’ rights under the Fourth and Fourteenth Amendments to the

Constitution of the United States, the Constitution of the Commonwealth of Pennsylvania, the laws of

the United States and of the Commonwealth of Pennsylvania and were in violation of 42 U.S.C.  §1983.

               51. As aforesaid, defendants, Detective Reilly, Detective Green, Police Officer Mertz,

Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team

Officers John Doe #1-10, acting within the scope of their employment, under the color of state law, and

pursuant to the customs, policies and practices of the defendant, the City of Philadelphia, intentionally

and maliciously assaulted and battered, plaintiffs, Marjorie Sweet and Renee Blair, and placed them in

fear of imminent bodily harm without just cause or provocation by the above described actions, all of
which violated the plaintiffs’ rights under the Fourth and Fourteenth Amendments to the Constitution of

the United States, the Constitution of the Commonwealth of Pennsylvania, the laws of the United States

and of the Commonwealth of Pennsylvania and were in violation of 42 U.S.C.  §1983.

               52. As a direct and proximate result of the malicious, intentional, and/or reckless actions

of the defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer Gursk, Police

Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe #1-10, the

plaintiffs, Marjorie Sweet and Renee Blair, suffered injuries that are described above.



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                53. The above-described actions of the defendants, Detective Reilly, Detective Green,

Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10

and/or SWAT Team Officers John Doe #1-10, in their individual capacities, were so malicious,

intentional and reckless and displayed such a reckless indifference to the plaintiffs’ rights and well

being, that the imposition of punitive damages is warranted.

                WHEREFORE, pursuant to 42 U.S.C. 1983 and 1988, plaintiffs, demand
compensatory and punitive damages against defendants, jointly and/or severally, in an amount in excess

of One Hundred Thousand ($100,000.00) Dollars, plus interest, costs, attorney's fees and other

appropriate relief.

                          COUNT II – 42 U.S.C. § 1983
                              ILLEGAL ENTRY
  MAJORIE SWEET V. DETECTIVE REILLY, DETECTIVE GREEN, POLICE OFFICER
  MERTZ, POLICE OFFICER GURSK, POLICE OFFICER RYCEK, POLICE OFFICERS
          JOHN DOE #1-10 AND SWAT TEAM OFFICERS JOHN DOE #1-10



                54. Paragraphs 1 through 53 are incorporated herein by reference, as though each were

fully set forth herein at length.

                55. As aforesaid, defendants, Detective Reilly, Detective Green, Police Officer

Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT

Team Officers John Doe #1-10, acting within the course and scope of their employment, under the

color of state law, intentionally and maliciously deprived plaintiff, Marjorie Sweet, of her rights,

privileges and immunities under the Laws and Constitutions of the Commonwealth of Pennsylvania

and the United States; in particular, the right to be free from unreasonable entries and searches; all of

which actions violated the plaintiff’s rights under the Fourth and Fourteenth Amendments to the

Constitution of the United States, the Constitution of the Commonwealth of Pennsylvania, the Laws

of the United States and of the Commonwealth of Pennsylvania, and is in violation of 42 U.S.C. §

1983.


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               56. As aforesaid, defendants, Detective Reilly, Detective Green, Police Officer

Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT

Team Officers John Doe #1-10, acting within the course and scope of their employment, under the

color of State law, intentionally and illegally entered the home of plaintiff, Marjorie Sweet, on

1/9/01, 1/15/01 and 9/21/01, and without just cause or provocation, all of which actions violated

plaintiff’s rights under the Fourth and Fourteenth Amendments to the Constitution of the United

States, the Constitution of the Commonwealth of Pennsylvania, the laws of the United States and of

the Commonwealth of Pennsylvania and was in violation of 42 U.S.C. § 1983.

               57. As aforesaid, defendants, Detective Reilly, Detective Green, Police Officer

Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT

Team Officers John Doe #1-10, acting within the course and scope of their employment, under the

color of State law, intentionally and maliciously assaulted, battered, humiliated, threatened, accused,

and insulted, plaintiff, Marjorie Sweet, and used their position of authority, illegally and improperly

to enter the home of the plaintiff, by the above described actions, all of which actions violated the

plaintiffs' rights under the Fourth and Fourteenth Amendments to the Constitution of the United

States, the Constitution of the Commonwealth of Pennsylvania, the laws of the United States and of

the Commonwealth of Pennsylvania and was in violation of 42 U.S.C. § 1983.

               58. The defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police
Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers

John Doe #1-10, have been deliberately indifferent to the rights of the plaintiff, Marjorie Sweet, to

be free from illegal search and seizure, which deliberate indifference violates the plaintiff’s rights

under the Fourth and Fourteenth Amendments of the Constitution of the United States, the

Constitution of the Commonwealth of Pennsylvania, the laws of the United States and of the

Commonwealth of Pennsylvania and was in violation of 42 U.S.C. § 1983.

               59. As a direct and proximate result of the malicious, intentional and reckless actions



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of the defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer Gursk,

Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe #1-

10, the plaintiff, Marjorie Sweet, suffered injuries which are described above.

                60. The above described actions of the defendants, Detective Reilly, Detective

Green, Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe

#1-10 and/or SWAT Team Officers John Doe #1-10, in their individual capacities, were so

malicious, intentional and reckless and displayed such a reckless indifference to the plaintiff’s rights

and well-being, that the imposition of punitive damages is warranted.

                WHEREFORE, pursuant to 42 U.S.C. § 1983, plaintiff, Marjorie Sweet, demands
compensatory and punitive damages against defendants, Detective Reilly, Detective Green, Police

Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or

SWAT Team Officers John Doe #1-10, jointly and/or severally, in their individual capacities, in an

amount in excess of One Hundred Thousand ($100,000.00) Dollars, plus interest, costs, attorney's

fees and delay damages.


                        COUNT III - 42 U.S.C. § 1983
                            CONSPIRACY
           MAJORIE SWEET, CHRISTOPHER SWEET, RENEE BLAIR,
  ROBERT KOHLER AND DAWN BRUMMET V. DETECTIVE REILLY, DETECTIVE
  GREEN, POLICE OFFICER MERTZ, POLICE OFFICER GURSK, POLICE OFFICER
  RYCEK, POLICE OFFICERD JOHN DOE #1-10 AND SWAT TEAM OFFICERS JOHN
                               DOE #1-10
                61. Paragraphs 1 through 60 are incorporated herein by reference, as though each were

fully set forth herein at length.

                62. Defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer

Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe

#1-10, entered into an agreement and/or reached a meeting of their minds to violate plaintiffs

Constitutional Rights: specifically by using excessive force, illegally entering plaintiff’s home and



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engaging in a pattern and practice of harassment, all while employing tactics of terror designed and in

fact causing plaintiffs harm.

                63. As detailed above, defendants, entered into a conspiracy to harm the plaintiffs,

Marjorie Sweet, Christopher Sweet, Renee Blair, Robert Kohler and Dawn Brummet, and deny the

plaintiffs of their constitutional rights and privileges under the Constitution of the United States, the

Constitution of the Commonwealth of Pennsylvania, and the laws of the United States and of the

Commonwealth of Pennsylvania.

                64. As detailed above, defendants, performed overt acts in furtherance of the conspiracy.

                65. As detailed above, the conspiracy directly and proximately resulted in harm to the

plaintiffs, Marjorie Sweet, Christopher Sweet, Renee Blair, Robert Kohler and Dawn Brummet,

including the deprivation of their rights and privileges under the Constitution of the United States, the

Constitution of the Commonwealth of Pennsylvania and the Laws of the Commonwealth of

Pennsylvania.

                66. As detailed above, defendants, Detective Reilly, Detective Green, Police Officer

Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT

Team Officers John Doe #1-10, acting within the course and scope of their employment, under the

color of state law, and pursuant to the customs, policies and practices of the City of Philadelphia,

illegally entered and seized the plaintiffs; illegally entered and searched the residence of plaintiff,
Marjorie Sweet, multiple times; deprived plaintiffs of their liberty without due process of law; deprived

the plaintiffs of the equal protection of the law; and deprived the plaintiffs of the privileges and

immunities afforded to citizens of the United States and the Commonwealth of Pennsylvania; all of

which actions violated the plaintiffs' rights under the Fourth and Fourteenth Amendments to the

Constitution of the United States and the laws of the United States and of the Commonwealth of

Pennsylvania, and all of which actions contributed to, assisted and implemented the conspiracy.

                67. The plaintiffs, Marjorie Sweet, Christopher Sweet, Renee Blair, Robert Kohler and



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Dawn Brummet, believe and therefore aver, that defendants, acting within the course and scope of their

employment, under the color of state law, and pursuant to the customs, policies, and practices of the

City of Philadelphia, provided intentional as well as unintentional support to the conspiracy to deprive

the plaintiffs of their constitutional rights.

                 68. As a direct and proximate result of the malicious, intentional and reckless actions of

the defendants, the plaintiffs, Marjorie Sweet, Christopher Sweet, Renee Blair, Robert Kohler and

Dawn Brummet, suffered injuries, which are described above.

                 69. The above described actions of the defendants, Detective Reilly, Detective Green,

Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10

and/or SWAT Team Officers John Doe #1-10, in their individual capacities were so malicious,

intentional, and reckless and displayed such a reckless indifference to the plaintiff's rights and well-

being that the imposition of punitive damages is warranted.

                 WHEREFORE, pursuant to 42 U.S.C. §§1983 and 1988, plaintiffs, Marjorie Sweet,
Christopher Sweet, Renee Blair, Robert Kohler and Dawn Brummet, demand compensatory and

punitive damages against defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police

Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers

John Doe #1-10, jointly and/or severally, in an amount in excess of One Hundred Thousand

($100,000.00) Dollars, plus interest, costs, attorney's fees and other appropriate relief.


                       COUNT IV - 42 U.S.C. 1983
                          MONELL CLAIM
 MAJORIE SWEET, CHRISTOPHER SWEET, RENEE BLAIR, ROBERT KOHLER AND
              DAWN BRUMMET VS. CITY OF PHILADELPHIA



                 70. Paragraphs 1 through 69 are incorporated herein by reference, as though each were

set forth herein at length.




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                71. The plaintiffs, Marjorie Sweet, Christopher Sweet, Renee Blair, Robert Kohler and

Dawn Brummet, believe and therefore aver that defendant, the City of Philadelphia, has adopted and

maintained for many years a recognized and accepted policy, custom, and practice of condoning and/or

acquiescing to the utilization of the SWAT team where the need to use the SWAT team, and/or the

methods and degree of force used by the SWAT team is unnecessary and excessive given the

circumstances of the situation.

                72. The plaintiffs believe and therefore aver that the defendant, City of Philadelphia, has

adopted and maintained for many years, a recognized and accepted policy, custom and practice of

systematically failing to properly train, supervise and/or discipline SWAT team members, including the

individual defendants, regarding constitutional restraints on the use of force and search and seizure.

                73.     The above cited policy, custom and practice is deliberately indifferent to the

rights of the citizens of Philadelphia and violates the Fourth and Fourteenth Amendments of the

Constitution of the United States, the Constitution of the Commonwealth of Pennsylvania, the laws of

the United States and of the Commonwealth of Pennsylvania.

                74. The defendant, the City of Philadelphia, was aware of the aforesaid described

policy, custom and practices for a substantial period of time and despite knowledge of the illegal

policies and practices as described above by the supervisory and policy making officers and officials,

failed to take steps to terminate said practices; have not disciplined or otherwise properly supervised
defendant officers, who engaged in the said practices; have not effectively trained officers with regard

to the proper constitutional and statutory limits in the exercise of their authority and instead sanctioned

the policy and practices described to the deliberate indifference of the constitutional rights of the

residence of the City of Philadelphia.

                75. By failing to take action to stop or limit the policy and/or by remaining deliberately

indifferent to the systematic abuses which occurred in accordance with and as a direct and proximate

result of the policy, defendants, the City of Philadelphia and its Commissioners, condoned, acquiesced



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in, participated in, and perpetrated the policy in violation of the plaintiffs’ rights under the Fourth and

Fourteenth Amendments of the Constitution of the United States, the Constitution of the

Commonwealth of Pennsylvania, the Laws of the United States and of the Commonwealth of

Pennsylvania, and was in violation of 42 U.S.C.  §1983.

                WHEREFORE, pursuant to 42 U.S.C. §§ 1983 and  1988, plaintiffs, Marjorie Sweet,
Christopher Sweet, Renee Blair, Robert Kohler and Dawn Brummet, demand compensatory damages

against defendant, the City of Philadelphia, in an amount in excess of One Hundred Thousand

($100,000.00) Dollars, plus interest, costs, attorney's fees and delay damages.


              COUNT V – 42 U.S.C. §1983 – BYSTANDER LIABILITY
 MARJORIE SWEET, CHRISTOPHER SWEET, RENEE BLAIR, ROBERT KOHLER AND
 DAWN BRUMMET VS. DETECTIVE REILLY, DETECTIVE GREEN, POLICE OFFICER
  MERTZ, POLICE OFFICER GURSK, POLICE OFFICER RYCEK, POLICE OFFICERS
          JOHN DOE #1-10 AND SWAT TEAM OFFICERS JOHN DOE #1-10


                76. Paragraphs 1 through 75 are incorporated herein by reference, as though each were

set forth herein at length.

                77. The plaintiffs, Marjorie Sweet, Christopher Sweet, Renee Blair, Robert Kohler and

Dawn Brummet, believe and therefore aver that defendants, Detective Reilly, Detective Green, Police

Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or

SWAT Team Officers John Doe #1-10, encouraged and stood idly by while excessive force was used

against the plaintiffs, which deprived the plaintiffs of their constitutional rights and privileges under

the Constitution of the United States.

                78. The plaintiffs believe and therefore aver that defendants, Detective Reilly,

Detective Green, Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers

John Doe #1-10 and/or SWAT Team Officers John Doe #1-10, encouraged and failed to prevent their

fellow officers from using excessive force against the plaintiffs, and therefore deprived the




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plaintiffs, Marjorie Sweet, Christopher Sweet, Renee Blair, Robert Kohler and Dawn Brummet, of

their rights under the Fourth and Fourteenth Amendments.

                79. As detailed above, defendants, Detective Reilly, Detective Green, Police Officer

Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT

Team Officers John Doe #1-10, failed to fulfill their obligation to intervene when they had an

independent and affirmative duty to prevent the use of excessive force upon the plaintiffs by their

fellow officers.

                80. As detailed above, by encouraging and failing to intervene, defendants,

Detective Reilly, Detective Green, Police Officer Mertz, Police Officer Gursk, Police Officer Rycek,

Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe #1-10, effectively assisted

their fellow officer in using excessive force against the plaintiffs, Marjorie Sweet, Christopher

Sweet, Renee Blair, Robert Kohler and Dawn Brummet, and therefore deprived the plaintiffs of their

constitutional rights and privileges under the Constitution of the United States, more specifically the

Fourth and Fourteenth Amendments.

                81. The above described actions of the defendants, Detective Reilly, Detective Green,

Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10

and/or SWAT Team Officers John Doe #1-10, in their individual capacities were so malicious,

intentional, and reckless and displayed such a reckless indifference to the plaintiffs’ rights and well-
being that the imposition of punitive damages is warranted.

                WHEREFORE, pursuant to 42 U.S.C. §1983, plaintiffs, Marjorie Sweet, Christopher
Sweet, Renee Blair, Robert Kohler and Dawn Brummet, demand compensatory and punitive damages

against defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer Gursk,

Police Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe #1-10,

jointly and/or severally in their official capacities, in an amount in excess of One Hundred Thousand

($100,000.00) Dollars, plus interest, costs, attorney's fees and other appropriate relief.



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                    COUNT VI - ASSAULT AND BATTERY
           MAJORIE SWEET, CHRISTOPHER SWEET, RENEE BLAIR,
  ROBERT KOHLER AND DAWN BRUMMET VS. DETECTIVE RIELLY, DETECTIVE
  GREEN, POLICE OFFICER MERTZ, POLICE OFFICER GURSK, POLICE OFFICER
  RYCEK, POLICE OFFICERS JOHN DOE #1-10 AND SWAT TEAM OFFICERS JOHN
                                DOE #1-10
                  82. Paragraphs 1 through 81 are incorporated herein by reference, as though each were

fully set forth herein at length.

                  83. Plaintiffs believe and therefore aver that the defendants, Detective Reilly, Detective

Green, Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-
10 and/or SWAT Team Officers John Doe #1-10, acting within the course and scope of their authority,

wrongfully and unlawfully assaulted and battered the plaintiffs, as more particularly described

hereinabove on 1/9/01 and 9/21/01.

                  84. Plaintiffs, Marjorie Sweet, Christopher Sweet, Renee Blair, Robert Kohler and

Dawn Brummet, specifically complain of the conduct of defendants, Detective Reilly, Detective Green,

Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10

and/or SWAT Team Officers John Doe #1-10, in handcuffing them for a prolonged period of time and

pointing a gun directly at them.

                  85. The above-described actions of defendants placed the plaintiffs, Marjorie Sweet,

Christopher Sweet, Renee Blair, Robert Kohler and Dawn Brummet, in the reasonable fear of imminent

bodily harm and resulted in the plaintiffs being unlawfully and improperly assaulted and abused against

their will.

                  86. As a direct and proximate result of the malicious, intentional and/or reckless actions

of the defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer Gursk, Police

Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe #1-10, the

plaintiffs suffered injuries that are described herein.

                  87. The above-described actions of defendants, Detective Reilly, Detective Green,


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Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10

and/or SWAT Team Officers John Doe #1-10, were so malicious, intentional, reckless and displayed

such a reckless indifference to the plaintiffs’ rights and well-being, that the imposition of punitive

damages is warranted.

                WHEREFORE, plaintiffs, Marjorie Sweet, Christopher Sweet, Renee Blair, Robert
Kohler and Dawn Brummet, demand compensatory and punitive damages against defendants,

Detective Reilly, Detective Green, Police Officer Mertz, Police Officer Gursk, Police Officer Rycek,

Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe #1-10, jointly and/or severally,

for the common law torts of assault and battery, in an amount in excess of One Hundred Thousand

($100,000.00) Dollars plus cost, interest, attorney's fees and delay damages.

                              COUNT VII
            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
MAJORIE SWEET, CHRISTOPHER SWEET, RENEE BLAIR, ROBERT KOHLER AND
DAWN BRUMMET VS. DETECTIVE RIELLY, DETECTIVE GREEN, POLICE OFFICER
 MERTZ, POLICE OFFICER GURSK, POLICE OFFICER RYCEK, POLICE OFFICERS
        JOHN DOE #1-10, AND SWAT TEAM OFFICERS JOHN DOE #1-10



                88. Paragraphs 1 through 87 are incorporated herein by reference, as though each were

fully set forth herein at length.

                89. Plaintiffs believe and therefore aver that the defendants, Detective Reilly, Detective

Green, Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-

10 and/or SWAT Team Officers John Doe #1-10, through their actions, as more fully set forth in the

preceding paragraphs of this complaint, did inflict serious emotional distress upon the plaintiffs in an

intentional and/or reckless manner.

                90. The above-described malicious, intentional, and/or reckless acts and omissions of

defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer Gursk, Police

Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe #1-10, were



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outrageous, atrocious, and completely intolerable in a civilized society and went beyond all possible

bounds of decency.

                91. The above-mentioned malicious, intentional, and/or reckless acts and omissions of

defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer Gursk, Police

Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe #1-10, caused

and continue to cause the plaintiffs severe emotional distress, anxiety, and fear.

                92. As a direct and proximate result of the malicious, intentional and/or reckless actions

of defendants, Detective Reilly, Detective Green, Police Officer Mertz, Police Officer Gursk, Police

Officer Rycek, Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe #1-10, the

plaintiffs suffered injuries that are described above.

                93. The above-described actions of defendants, Detective Reilly, Detective Green,

Police Officer Mertz, Police Officer Gursk, Police Officer Rycek, Police Officers John Doe #1-10

and/or SWAT Team Officers John Doe #1-10, were so malicious and intentional and displayed such a

reckless indifference to the plaintiffs’ rights and well being, that the imposition of punitive damages is

warranted.

                WHEREFORE, plaintiffs, Marjorie Sweet, Christopher Sweet, Renee Blair, Robert
Kohler and Dawn Brummet, demand compensatory and punitive damages against defendants,

Detective Reilly, Detective Green, Police Officer Mertz, Police Officer Gursk, Police Officer Rycek,
Police Officers John Doe #1-10 and/or SWAT Team Officers John Doe #1-10, jointly and/or severally,

for the common law tort of intentional infliction of emotional distress, in an amount in excess of One

Hundred Thousand ($100,000.00) Dollars, plus cost, interest, attorney's fees and delay damages.




                           COUNT VIII – PROPERTY DAMAGE
                     MARJORIE SWEET V. THE CITY OF PHILADELPHIA




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                94. Paragraphs 1 through 93 are incorporated herein by reference, as though

each were fully set forth herein at length.

                95. Plaintiff, Marjorie Sweet, owns and lives at 1929 E. Tioga Street located in

Philadelphia, Pennsylvania.

                96. At the aforementioned time and place, defendant, City of Philadelphia

negligently and/or recklessly conducted three searches in the home of plaintiff, Marjorie Sweet.

                97. As a result of individual defendant officers’ negligence and/or recklessness

while conducting a search, as set forth above, plaintiff, Marjorie Sweet’s home sustained

property damager.

                98. The cost and reasonable value of the repairs necessitated by such damage is

$2,500.00.

                WHEREFORE, plaintiff, Marjorie Sweet, demands judgment against the
defendant, City of Philadelphia for damages in the amount of $2,500.00.


                                        ABRAMSON & DENENBERG, P.C.


                                        BY:_______________________________
                                          ALAN E. DENENBERG, ESQUIRE
                                          ATTORNEY FOR PLAINTIFFS




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